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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: VIOXX® MDL Docket No. 1657

PRODUCTS LIABILITY LITIGATION SECTION L

Judge Eldon E. Fallon
Magistrate Judge Knowles
THIS DOCUMENT RELATES TO
PLAINTIFFS LISTED IN EXHIBIT A TO
MERCK “THIRD” MOTION TO DISMISS:

Agard, et al., v. Merck & Co. [David Agard, Case No.: 2:05-cv-01089
James Demoski]

Aljibory, et al., v. Merck & Co. [Viola Santacrose] Case No.: 2:05-cv-01090

Cavallo, et al., v. Merck & Co. [Matthew Cavallo] Case No.: 2:05-cv-01513

Core, et al. v. Merck & Co. [Richard Core] Case No.: 2:05-cv-02583

Gates, et al., v. Merck & Co. [Scott Berthel] Case No.: 2:05-cv-06221

Connolly, et al., v. Merck & Co, [Majorie Curtis, Case No.: 2:06-cv-02708 |
Kristine Hia, and Maurice Hoyt]

Kurtz v. Merck & Co. [Mary Kurtz] Case No.: 2:06-cv-05779
Dier, et al., v. Merck & Co. [Timothy Mack] Case No.: 2:05-cv-01088
Holobosky, et al., v. Merck & Co. [Ann Manninof| Case No.: 2:05-cv-01091
DuFresne v. Merck & Co., [Frank Spencer] Case No.: 2:08-cv-03220

PLAINTIFFS’ MOTION FOR RECUSAL OF THIS COURT

Plaintiffs David Agard, James Demoski, Viola Santacrose, Marilyn Core
[Richard Core], Scott Berthel, Marjorie Curtis, Kristine Hia, Maurice Hoyt, Mary
: Kurtz, Timothy Mack, Ann Marie Mannino, and Lori DuFresne [Frank Spencer], by
and through their counsel, Ronald R. Benjamin, hereby move this Honorable Court
for an order granting its recusal pursuant to 28 U.S.C. § 455 (a) or (b)(1), and such
other and further relief as is just and proper. In support of this motion, plaintiffs
state the following matters:

1. The instant motion seeks to have the Court recuse itself on the grounds

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that the Court appears to have engaged in ex parte communications with counsel for
defendant Merck & Co., Inc. (“Merck”), at a time when plaintiffs’ counsel was not
present, during which derogatory information regarding plaintiffs’ counsel was
communicated to the Court.

2, On October 29, 2009, counsel for the parties appeared before the Court for
oral argument on Merck’s motion to dismiss the cases of the twelve (12) plaintiffs
noted in the caption whose cases are pending before the Court and share the common
feature of being represented by Ronald R. Benjamin. A copy of the transcript of the
hearing is annexed hereto as Plaintiffs’ Exhibit A.

3. At the opening of the hearing, this Court referred not only to a brief history
of the Vioxx litigation and PTO 28, but then, in reviewing Merck’s allegations
concerning the status of compliance with discovery requirements of PTO No. 28, this
Court stated:

Further, Merck argues that this noncompliance is consistent with the
general pattern of defiance and disregard for this Court’s orders; and,
actually, other court orders also since other courts in New Jersey and
elsewhere also required that this material be submitted, or materials
similar to this, and Mr. Benjamin failed to follow those orders.

In fact, in New Jersey, the court asked him to leave the court, or
certainly not sit with the other attorneys, since he was not only not in
compliance with following court orders, but he was not in compliance
with even making his appropriate appearance before that particular
court.

Pl. Ex. A, Transcript, at p. 6.
4. Although Merck did make broad, sweeping and self-serving accusations

against plaintiffs’ attorney in this litigation, Merck’s opening and reply memoranda

did not mention New Jersey, nor did Merck submit any such information into the

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record that was before this Court, nor has there been any reported decision, nor any
journal, periodical or publication available on what transpired in New Jersey.
Consequently, it would appear this Court received the information in the course of ex
parte communication with defense counsel for Merck or from other extrajudicial
sources.

5. Itis respectfully submitted that, other than Merck’s counsel present in the
New Jersey court, the only other source of information available on the aforesaid
factual matters stated by this Court would have been the judge presiding over the
New Jersey state Vioxx litigation, namely, the Honorable Carol Higbee, who would
not have misrepresented what transpired, leaving Merck’s counsel as the only other
source of information available to the Court.

6. In that regard, plaintiffs’ counsel informed this Court at the October 29%
hearing that:

I think I’d like to begin with the fact that it is virtually impossible to
respond to broad conclusory allegations, such as Your Honor referred to,
with regard to pattern of defiance or disregard, particularly in

connection with referring to the New Jersey courts, where I have not yet
even been admitted.

I do not know what information Merck provided Your Honor in
connection with what transpired in New Jersey, but there was a motion
for me to be admitted pro hac vice, and that is the only issue. As of
today, I have not been admitted.

id., Transcript, p. 9.
7. Itis further submitted that if this Court in fact engaged in such conduct, it
would provide a basis for inquiry into the question of whether or not PTO 28 was

written by Merck’s counsel, rather than this Court, particularly since it was issued by

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this Court on November 9, 2007, and is now the basis for Merck seeking dismissal on
the motion presently before the Court.

8. An inference that Merck, not the Court, is responsible for PTO 28 is
permitted without need to discuss the preservation and discovery requirements set
forth in PTO 28, based on the definitions sections since the latter are identical to the
definitions and exclusion of injuries set forth in the Master Settlement Agreement
(MSA), also announced on November 9, 2007.

9. This Court has noted that the negotiations leading up to the MSA were
held with great secrecy, and further stated that it “played no role in drafting the

‘private settlement agreement.” December 10, 2008 Order and Reasons at page 6.

10. Itis therefore submitted a plausible explanation for what are, at
minimum, distinct similarities which, however characterized, must be conceded, as
must the fact that PTO 28 affords Merck significant advantages in this litigation.
Indeed, this Court acknowledged that Merck is now claiming the stay in PTO 30
somehow absolves Merck of its failure to pursue discovery in prior years, stating:

Merck also points out that after receiving medical releases from the

listed plaintiffs, the discovery was stayed and that they [Merck] were,

therefore, unable to seek the required medical records. Only plaintiffs

could have sought these records. And, accordingly, according to Merck,

the pretrial order required them [plaintiffs] to do so.

Ex. A., Transcript, p. 7.
11. In response, plaintiffs’ counsel pointed out that PTO 30 did not issue until

November 2007, and authorizations had been provided to Merck going back to 2008

in most cases. Id., p. 11,

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12. In any event, there is an appearance that this Court has adopted Merck’s
interpretation of PTO 28, and that any motion by Merck to dismiss the cases of
plaintiffs represented by Benjamin will be granted without regard to the merits of the
individual cases based on ex parte communications and other extrajudicial sources
that brand any motion or opposition that these non-settling plaintiffs make as being
part of a pattern of defiance and noncompliance, while leaving Merck free to make
broad sweeping assertions that have little to do with reality or its own conduct in
failing to pursue medical records prior to November 9, 2007.

13. Even with the similarities between the MSA in the definitional section set
forth in PTO 28, it is respectfully submitted that, prior to October 29, 2009, there was
an insufficient basis to inquire as to the authorship of PTO 28, except to argue that
no plaintiffs attorney in any adversarial proceeding would ever have consented to its
issuance without opposition since it unilaterally affords tremendous advantages to
defendant Merck, not only with regard to discovery but with regard to imposing
financial obligations upon the plaintiffs not contemplated by the Federal Rules of
Civil Procedure, that have no ostensible purpose except to drive up plaintiffs’
litigation costs. However, in its recent brief in the Fifth Circuit, Merck has asserted
that PTO 28 was “carefully calibrated to the present phase of the Vioxx litigation”
(see excerpt of Merck brief annexed hereto as Plaintiffs’ Exhibit B, at p. 29),
indicating Merck has direct knowledge of and participated in how PTO 28 was
written, since this was a statement made without attribution. Indeed, this increases

the likelihood that Merck did not strain itself in getting medical records because of

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the secret MSA negotiations that it knew would result in PTO 28 thrusting that
burden back on non-settling plaintiffs who wanted to continue to litigate.

14. Indeed, PTO 28 was issued without motions practice, and the only “phase”
it coincided with in November 2007 was the announcement of the theretofore secret
MSA.

15. Although in these twelve cases Merck sought dismissal pursuant to Rule
41, its counsel repudiated the same on October 29, stating, “we are actually bringing
this motion under PTO 28, and there are enforcement mechanisms that are written
into the order itself, and that’s the basis of the motion.” Pl. Ex. A, Transcript, p. 14.
Thus, although the authorship of PTO 28 may have additional repercussions outside
the instant motion, the relevance here pertains to demonstrating prejudice from the
ex parte communication with defense counsel which is the subject of the instant
motion for recusal and the use of the same to support dismissal of these plaintiffs’
cases.

16. In point of fact, Merck is recycling its unsubstantiated arguments of a
“pattern of defiance” on Benjamin’s part that only cropped up after the MSA and PTO
28 came into existence on November 7, 2007, to seek dismissal of the cases of these
twelve non-settling plaintiffs, most of which have been pending in MDL 1657 since
2005, as evinced by their case numbers in the caption. At the October 29 hearing,
Benjamin argued:

[I]n this litigation, [we] have made every effort to comply with every

order that this Court has issued in connection with everything from

discovery to appearing when ordered to appear.
So that, in connection with my own conduct, to the extent anybody is

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alleging that I have willfully done anything wrong, all I have tried to do
here is to assure my clients get their day in court.

I have recommended against settlement. I continued to believe that
clients can do better. And while I understand that the Court has a
general duty that goes outside and beyond individual cases, it’s still the
law that if a plaintiff wants to proceed, they can.

Now, on the particular motion before the Court, I think Merck is
attempting to turn everything upside down by suggesting and bringing a
motion under Rule 41, failure to prosecute, when as of March of this
year, we have before the Court remand motions which advises Merck in
no uncertain terms that from the plaintiffs perspective, all generic
issues are complete and that the Court has discretion to remand the

~ actions and let any additional individual issues be addressed in the
courts in New York.

Pl. Ex. A, Transcript, p. 10. The remand motions are clearly appropriate advocacy,
but no order has issued on the same, and instead these plaintiffs are facing dismissal
of their individual cases based on generalized attacks on their counsel being
communicated ex parte and based on extrajudicial sources.

17. If the Court, because of the noblest of motives, nevertheless divested
itself of the impartiality necessary to afford each party the due process of law which
is embodied in our system of justice, it is certainly relevant to the instant motion.

18. The decisions made subsequent to Merck’s payment of $4.85 billion are
distinctly different from the motion practice that took place prior to that date, and it
is respectfully submitted there was an alignment of the parties which deprived the
Court of the adversarial presentations so necessary to ferret out the truth and give
the impartial consideration and determinations based on merit which are the
cornerstone of our system of justice.

19. That there is a continuing and personal post-MSA bias and lack of

impartiality adversely impacting the non-settling plaintiffs represented by Benjamin

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is evinced by the fact that, with respect to the prior dismissal of other plaintiffs’ cases
represented by attorney Benjamin, this Court appeared to accept the contentions of
defendant Merck observing, “both the Plaintiffs Steering Committee and Merck
contend that Mr. Benjamin is merely employing the same failed discovery tactics that
resulted in dismissal of his clients cases in the In re: Diet Drug Litigation.” See
December 10, 2008 Order and Reasons, p 9.n5. While the Court and Merck pointed
to the Third Circuit opinion, neither Merck nor the Court actually set forth facts to
support the generalized premise that plaintiffs represented by Benjamin should have
their cases dismissed based on matters that have occurred in other litigation not
before this Court.

20. Although Benjamin can fully justify his strategy in the Diet Drug
Litigation as well as point to inaccuracies in the Third Circuit opinion from a factual
and legal standpoint, the more important point here is that, even assuming some
historical “bad lawyering” on Benjamin’s part in that litigation, it would be
immaterial to the instant cases absent some basis to infer that Benjamin’s advocacy
on behalf of his clients is not appropriate and he has somehow engaged in conduct in
litigating these twelve cases that constituted either discovery abuse or some other
improper behavior, when there is none.

21. Indeed, Merck’s counsel, Charles Cohen, who was in court on the day
Benjamin was asked to leave the counsel table in the New Jersey proceeding after

Judge Higbee denied him pro hac vice status, is well aware of Mr. Benjamin’s

litigation record, including the fact that he obtained the highest single jury verdict on

he

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behalf of a DES plaintiffs in US history, making Merck’s motive in castigating Mr.
Benjamin in the context of failure-to-prosecute dismissal motions only obvious.

22. The fact that Benjamin has argued since November 9, 2007, and in fact
remains firmly convinced the Plaintiffs’ Steering Committee was bought off by Merck
for an agreement to not oppose payment of $480 million in attorneys fees from the
$4.85 billion, does not involve or rise to the level of sanctionable conduct, whether .
characterized as discovery abuse or any other impropriety.

23. After the October 29 hearing, this Court directed that Benjamin and
Merck’s counsel meet and confer “in order to determine how his submissions have
failed to comply with the requirements of PTO 28 and to identify what must be
produced to achieve compliance” and then to produce those materials no later than
December 13, 2009 or have the cases “dismissed with prejudice.” See copy of Order
dated October 30, 2009, annexed hereto as Plaintiffs’ Exhibit C.

24. Plaintiffs have contended in their reply memorandum that they met their
disclosure requirements prior to the entry of PTO 28, and have provided individual
expert reports, which would end the matter with regard to the discovery which is the
subject matter of Merck’s motion. This Court has pronounced judgment without
affording these twelve plaintiffs, let alone Mr. Benjamin, notice and opportunity to be
heard on the issues raised by Merck, which range from alleged applicability of and
lack of compliance with PTO 28 as to individual plaintiffs and the alleged general
defiance of this Court’s orders and authority by Benjamin.

25. This Court has framed its October 30, 2009 order in terms of compliance

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by Benjamin rather than that of the plaintiffs, and has squarely placed the same in
issue but does not appear to contemplate any hearing with regard to the same.

26. Indeed, at any hearing plaintiffs would be able to present evidence to put
ludicrous statements made by Merck, such as, “from November 9, 2007 until August
21, 2009, only plaintiffs had the ability to go out and collect the pharmacy and
medical records. And, PTO 28 imposed upon plaintiffs the obligation to go out and do
precisely that.” Merck reply memorandum dated October 27, 2009, at p. 3, para. &.

27. Plaintiffs can present proof that for lengthy periods of time, in most cases
more than one to two years prior to November 9, 2007, Merck not only obtained
authorizations to secure pharmacy and medical records, but the same were sufficient
to meet the plaintiffs’ discovery obligations; that Merck in fact utilized some of the
authorizations provided by plaintiffs to obtain records without incident; and, most
importantly, that any alleged deficiencies in information available to Merck stemmed
from its own willful or negligent refusal to secure the same, showing its own pattern
of inaction, delay and noncompliance that this Court has not examined.

28. Itis respectfully submitted that the Court’s impartiality can be
questioned in this case unless Merck — not plaintiffs — is put to the burden of
demonstrating why Merck should have special exemption from the general use-it-or-
lose-it operation of the adversarial system applicable to these matters.

29. In any event, even if Benjamin is wrong about this Court setting the stage
for dismissal based on his conduct by personalizing the order of October 30, 2009, and

giving credence to the baseless accusations made by Merck’s counsel, the Court

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should recuse or disqualify itself for engaging in the ex parte communication with

defense counsel and relying on extrajudicial sources as set forth herein.

WHEREFORE, plaintiffs respectfully submit that this Court should enter an
“order recusing or disqualifying itself in these cases, along with such other and further

relief as is just and proper under the circumstances.

Respectfully submitted,

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